         Case 1:21-cv-09362-LLS       Document 26      Filed 03/25/22    Page 1 of 11
-ORIGINAL                                                               ·.usoc SD1'1·
                                                                        DOCU:\1[\T
   UNITED STATES DISTRICT COURT
   SOUTHERN DISTRICT OF NEW YORK                                        ELECTRO\ICALLY FILED
   STUART PIVAR,                                                        DOC#:
                                                                        U l F F-1L_E_D_:-5-/-.-2-,(__,,/,__z___,i._
                                                                                             I
                                     Plaintiff ,

                      - against -
                                                              2 1 Ci v . 09 36 2   (LLS )
   THE VAN GOGH MUSEUM ,
                                                                OPINION & ORDER
                                     Defendant.


          Defendant The Van Gogh Museum mo v es to dismiss plaintiff

   Stuart Pivar's claims against it for negligence and breach o f

   contract relating to the Museum ' s 2021 analysis of the

   authenticity of plaintiff ' s alleged Van Gogh painting .

          Defendant ' s motion is granted .

                                        BACKGROUND

          The following facts are dra wn from the c omp l aint a n d t h e

   aff i davits of the parties. 1

          Plaintiff Stuart Pivar is a New York art collector. Compl.

   !   3 . Defendant the Van Gogh Museum (the "Museum" ) is l o cate d in

   Amsterdam, Netherlands and is home to the world's largest

   collection of works by artist Vincent Van Go gh .                    Vellekoop Deel .

   ! 3 . The Museum is engaged in authenticity research and prov ides

   its opinion on authenticity to art o wners around the world free

   of charge . Id. ! ! 4 - 5 .



   1 I n d eciding a motion to di s miss b ased on a forum selection c l ause , the Court

   may con s ider evidence out s ide the p leadings , including suppor t ing
   d ecla rati ons and a ffidavits . See Valenti v . Norwegian Cruise Line , No. 04
   CI V . 8895 (RWS), 2005 WL 927167 , at *l (S . D. N. Y. Apr . 21, 2005) . It may
   r es o l ve a d i sputed f a c t in a manne r adver s e to the plaintiff only af t er an
   evidentiary hearing . See Lurie v . No r wegian Crui s e Lines , Ltd . , 305 F . Supp . 2d
   352 , 357 (S . D. N. Y. 2004)
                                                  -1-
    Case 1:21-cv-09362-LLS   Document 26       Filed 03/25/22       Page 2 of 11


     In March o f 2021 , Mr . Pivar acquired what he believed to be

an authentic Van Gogh painting titled Auvers , 1890 . Compl .                     ~   3.

Following the acquisition , Mr . Pivar contacted the Museum to

notify it of his ownership . In his first email , he explained

that the recent discovery left "little time to show you [the

Museum] our conclusions ". Vellekoop Deel .          ~   9 , Ex . 2. The Museum

responded , explaining that the Auvers painting was unknown in

the Van Gogh literature , but invited plaintiff to apply

officially for an authentication request when the Museum

reopened (it was closed due to COVID - 19) . Id .             ~   10 , Ex . 3 .

Plaintiff responded , stating " We apprised the Van Gogh Museum of

the discovery of this picture as the appropriate measure in due

course merely for the edification of its existence . We do not

seek the opinion of the Museum as to the authenticity of the

picture . We have conducted and published our own investigations

on this unique work for art and have found no evidence to

contradict its authenticity ." Id .       ~   11 , Ex . 4 .

     In mid - May , following those initial communications , Mr .

Pivar again wrote to the Museum , thanking it for " the

opportunity to present Auvers" and stating that he would arrange

to ship the painting to the Museum immediately. Id .                   ~   15 , Ex. 8 .

He followed up the same day stating , " We had made the

presumption that you wish to inspect Auvers , 1890. Please tell

us if indeed you wish the painting to be shipped ." Id .                    ~   16, Ex .

9 . The next day , the Museum wrote back , informing Mr . Pivar that


                                   - 2-
         Case 1:21-cv-09362-LLS     Document 26       Filed 03/25/22      Page 3 of 11


whi l e the Museum is still closed due to COVID - 19 and therefore

unable to do authentication requests , it had decided to make an

exception and would wo r k on providing an opinion for the Auvers ,

1890 once Mr . Pivar signed and returned the attached

Authentication Request agreement . I d.                 ~     17 . Ex . 1 0 . That

Authentication Request also incorporated the Museum ' s General

Terms and Conditions Researching Authenticity ("Terms and

Conditions " ) . Id . Those Terms and Conditions were also attached

in the email the Museum sent to Mr . Pivar . Id . Mr. Pi v ar signed

and returned the Authentication Request                       (the "Agreement " ) the

same day . 2 Id .     ~   18 .

          The Museum , after reviewing photographic images and general

documentation regarding the painting , conducted its analysis ,

and in August of 2021 , sent its fifteen - page report to Mr .

Pivar , rejecting the authenticity of the Auvers painting . Id .                            ~


20 , Ex . 16 . The report notes that the Museum " did not believe an

inspection in situ in our museum is necessary " because it was

clear from the material presented that the painting c o uld not be

attributed to van Gogh . Id .             ~   20 , Ex . 6 .

          Mr.   Pi v ar now claims that the Museum ' s insp e ction was



2 Th e signed a greeme n t a tt ach ed as Ex hib it A to Mr . Pi v a r ' s complaint d iffe r s
slightl y f r om the ver si on t h e Museum a tt a che s to the Vellekoop Decla ra tion .
Along wi th s ome othe r mino r discrepancie s in the desc r iption and title of the
paint i n g , Exh ibit A is s igned and dated June 1 , 202 1 , while t h e Mu se um 's copy
is s i g n e d a nd dat ed Ma y 1 4 , 2 021 . The Museum s t a te s that it reviewe d i ts files
and c a n f ind no record that it ever received the version of th e document Mr .
Pivar i n clud ed with his comp laint . Vellekoop Deel . ~ 18. Mr . Pivar does not
a ddr e ss the i s sue . The di s crepa ncy is noted but i s in s ignificant fo r the
purp o s e s of thi s motion .

                                               -3 -
       Case 1:21-cv-09362-LLS      Document 26       Filed 03/25/22   Page 4 of 11


performed negligently and in breach of paragraph 3 . 1 of the

Terms and Conditions , requiring the Museum to exercise "the due

care expected of a good contracting party ". Compl .                   ~~   12 - 27. Mr .

Pivar alleges that had the painting been certified as authentic

by the Museum , it would have a present market value of

$300,000 , 000. Id .      ~   8 . Now that it ' s been rejected , it only has

a nominal or decorative value . Id .             ~   10 .

                                     DISCUSSION

         Defendant seeks to dismiss plaintiff ' s claims under the

doctrine of forum non conveniens in light of the forum selection

clause in the parties ' agreement . See Df . Br . at 8, Vellekoop

Deel .    ~   17 , Ex . 10 at~ 11 . 2 .   The clause provides that "any

disputes in the matter of or arising from or related to these

Terms and Conditions or the contractual and extracontractual

obligations arising therefrom or related thereto will solely be

submitted for settlement to the competent court in Amsterdam ."

Id .

         "The appropriate way to enforce a forum - selection clause

pointing to a state or foreign forum is through the doctrine of

forum non conveniens ." Atl . Marine Const . Co . v . U. S . Dist . Ct.

for W. Dist . of Texas , 571 U. S . 49 , 60             (2013). "A forum

selection clause is presumptively enforceable if it was

reasonably communicated to the party resisting enforcement , has

mandatory force , and covers the claims and parties involved in

the dispute ." DeBello v. VolumeCocomo Apparel , Inc ., 720 F .


                                          - 4-
      Case 1:21-cv-09362-LLS     Document 26     Filed 03/25/22     Page 5 of 11


App ' x 37 , 39 (2d Cir . 2017 ) (citing Phillips v . Audi o Acti v e

Ltd ., 494 F . 3d 37 8 , 3 8 3 (2d Cir . 2007) (quotati o n marks omitted )

" A part y can rebut the presumpti on b y d emo nstrating tha t

enforcement of the clause would be unreas o nable o r unjust , o r

that the clause was inv alid for su c h reas o ns as fraud o r

ove r reaching .". Id .    ( " We decline t o enf o r c e a f o rum select i o n

c l aus e if :   (1 ) its inc o rp o rati o n was the result o f fraud o r

overreaching ;      ( 2) the law t o be app lied in t he selected for um is

fundamentally unfair ;        ( 3 ) enforcement contrav enes a strong

public polic y o f th e f o rum in wh ich sui t       i s br o u gh t ; o r   (4)

trial in the select e d f o rum will be so difficult and

inconv enient that the p l ai n tiff effecti v el y wi l l be depri ved of

his da y in c o urt ." )   ( inter n al citati o ns and qu o tati o n mar k s

omitted) .

       Plaintif f challenges the forum selection clause ' s

enforceability based o n the Agreement ' s all e gedl y adhesi v e and

uncon s cionable nature . 3 Pl aintiff argues tha t          since th e Terms a nd



3 While not entirely clear from its brief , plaintiff ' s arguments of adhesion
and unconscionability appear to challenge both whether the clause was
reasonably communicated and whether it is unjust , unfair or otherwise invalid
for fraud or overreaching .

Plaintiff does not dispute that the clause is mandatory , nor does he dispute
that it applies to both the parties and claims in this suit . Applying Dutch
law to those factors , as required by the agreement and this Court ' s
jurisprudence , the Court finds that defendant has satisfied its burden of
proving that the clause is mandatory and applies to the parties and claims in
this case . See Of . Br . at 11 - 14 ; Vellekoop Deel . , Ex . 10 , Terms and
Conditions at 1 11 . 1 (" These Terms and Conditions . . . are governed by Dutch
law". ) ; see also Amto , LLC v . Bedford Asset Mgmt . , LLC , 168 F . Supp. 3d 556 ,
564 (S . D. N. Y. 2016) ( " Where a contract contains a choice of law clause in
addition to a forum selection clause , the court generally must apply the law
selected in the choice of law clause to the interpretive questions posed by
parts two and three of the four - part framework , while applying federal law to
                                         - 5-
     Case 1:21-cv-09362-LLS   Document 26    Filed 03/25/22    Page 6 of 11


Conditions containing the clause were incorporated by reference

into the form Agreement , the forum selection clause was imposed

upon a "aged plaintiff with reduced understanding " without free

negotiation . See Pl . Opp'n . Br. at 5.

     Mr.   Pivar states that he did not recall receiving the Terms

or ever reading the Terms . See Pivar Affidavit at~~ 5 ,               6. He

argues that because they were not "discussed nor contained in

the actual agreement which plaintiff executed", the agreement

was a "classic contract of adhesion between two parties with

vastly disproportionate bargaining power". See Pl. Opp'n Br . at

5-6 . He also argues that the forum selection clause is

unenforceable because it is procedurally and substantively

unconscionable , since "defendant had no competition whatsoever

in the authentication of works of art attributed to Vincent Van

Gogh and plaintiff had no leverage whatsoever" and "the choice

of law and forum provisions in defendant ' s agreement require

plaintiff to consent to litigation in a foreign country under a

foreign law which is not even akin to the Anglo American system

of jurisprudence but derived from unrelated sources ." Pl . Opp ' n.

Br . at 8 . Basically , plaintiff's argument is that since he is

"an elderly New York desperately hopeful that his painting may

turn out to be a wildly valuable work by Vincent Van Gogh" who

"hardly even leaves his apartment ", he was never "consciously



determine whether the clause is enforceable . . .   "   (internal citation and
quotation marks omitted) .

                                      - 6-
      Case 1:21-cv-09362-LLS         Document 26       Filed 03/25/22     Page 7 of 11


cognizant" of the clause , and therefore , it cannot be

enforceable . Pl . Opp ' n Br . at 6 .

       Despite plaintiff ' s argument , defendant satisfies its

burden of showing that the forum selection clause was reas o nably

communicated to Mr . Pivar , and Mr . Pivar cannot show that the

contract is one of adhesion or unconscionable . 4

       First , the General Terms and Conditions were provided to

Plaintiff at the same time and in the same email as the

Authentication Request , which plai n tiff signed . The

Authentication Request is only one page , and explicitly

references the Terms and Conditions twice in this first two

paragraphs ("Your request is subject to our General Terms and

Conditions            . These documents are attached with this request .

By signing this document , y ou acknowledge you are familiar with

and consent to the General Terms and Conditions .                             . " ) . See

Vellekoop Deel. , Ex. 10 . The forum selection clause itself is in

English and is clearly stated . Upon receipt of the Agreement , a

Ms. Maggie Dubinski (someone arguably working on behalf o f

plaintiff and whose email Mr. Pivar had pre v iously used to

communicate with the Museum , see Vellekoop Deel ., Ex. 8) ,

acknowledged receipt of the Museum ' s "email and information




4 It i s not lo s t on the Court that plaintiff seeks to avoid enforcement of one
u nfavorab le p r ovi s ion i n the Terms and Conditions , claiming he was not
con s cious of the Terms and w·a s forced t o s i gn the Agreement , while
s i mu lta n eou sl y see ks r elief under the other p rovi s ion s , which we r e p r es e nted
to p laintiff in the s ame manner , at the same time , and as part of th e same
sh o rt , f o rm, u n n ego t i a te d ag reement .

                                              - 7-
     Case 1:21-cv-09362-LLS    Document 26   Filed 03/25/22   Page 8 of 11


guides" and sent back the attached Authentication Request

containing Mr. Pivar ' s signature. Id., Ex . 11.

      Those facts are sufficient to show that the clause was

reasonably communicated to plaintiff . See Bent v . Zounds Hearing

Franchising , LLC , No . 15 CIV . 6555 (PAE) , 2015 WL 7721838, at *4

(S.D . N. Y. Nov . 30 , 2015) (" In this Circuit , courts assume that a

forum-selection clause stated in clear and unambiguous language

was reasonably communicated to the plaintiff ." ) ; see also

Cfirstclass Corp. v. Silverjet PLC , 560 F. Supp . 2d 324 , 328

(S.D.N . Y. 2008)   ("Here , there is no dispute that Cfirstclass was

aware that the two contracts contained the forum selection

clauses at issue since Cfirstclass was a party to each

contract ." ) .

      Since defendant establishes the presumption of

enforceability, the Court next analyzes whether plaintiff's

arguments of adhesion and unconscionability are sufficient to

rebut that presumption .

       "A contract of adhesion contains terms that are unfair and

nonnegotiable and arises from a disparity of bargaining power or

oppressive tactics ." Molino v . Sagamore , 105 A . D.3d 922, 923,

963 N. Y. S . 2d 355 , 357   (2013) (internal quotation marks and

citation omitted). " [A] form agreement .            . is not

automatically one of adhesion because such claims are judged by

whether the party seeking to enforce the contract has used high

pressure tactics or deceptive language in the contract and


                                      -8-
     Case 1:21-cv-09362-LLS    Document 26    Filed 03/25/22   Page 9 of 11


whether there is inequality of bargaining power between the

partie s." Id.     (internal quotation marks and citation omitted) .

      Here , while the contract was indeed a form agreement , the

fact that the parties did not negotiate the terms of the

agreement does not render it unenforceable . See Molino , 105

A . D. 3d at 923   (" [T]he fact that the Rental Agreement containing

the forum selection clause was presented to the plaintiffs at

registration and was not the product of negotiation does not

render it unenforceable ." ) ; see also Brown v . Web . com Grp .,

Inc ., 57 F . Supp . 3d 345 , 359    (S . D. N. Y. 2014) ("Failure to

negotiate the terms of an agreement ... does not constitute

fraud , overreaching or unconscionability necessary to void a

forum selection clause ." )     (internal quotation marks and citation

omitted) ; Leasing Serv . Corp . v . Larkan , No . 84 CIV . 6445         (JFK) ,

1986 WL 9691 , at *4     (S . D. N. Y. Aug . 25 , 1986)   ("Larkan ' s failure

to read the terms of the agreement into which he freely entered

     . is not evidence of fraud or overreaching by plaintiff ." )

Plaintiff presents no evidence that the Museum included any

deceptive language in the contract or used high pressure tactics

to force Mr . Pivar into the agreement ; on the contrary , the

facts suggest that the Museum had very little interest in

securing the agreement , considering it did not receive, nor

seek , any payment for its services, and while it was Mr . Pivar

who repeatedly contacted the Museum regarding the Auvers

painting , despite the Museum ' s notification that it was not


                                      - 9-
    Case 1:21-cv-09362-LLS    Document 26    Filed 03/25/22   Page 10 of 11


performing authentication work due to the pandemic . The contract

is not one of adhesion .

       "A determination of unconscionability generally requires a

showing that the contract was both procedurally and

substantively unconscionable , i . e ., some showing of an absence

of meaningful choice on the part of one of the parties together

with contract terms which are unreasonably favorable to the

other party ." Warburg , Pincus Equity Partners, LP v . Keane , 22

A . D. 3d 321 , 322   (1st Dept . 2005) (internal citation and quotation

marks omitted) .

      The evidence does not show that the forum selection clause

was procedurally unconscionable : Mr. Pivar had a meaningful

choice in signing the Agreement to obtain the Museum ' s opinion

on the authenticity of the Auvers . In correspondences with the

Museum , Mr . Pivar notes that he has already conducted and

published his own investigation of the work , and the piece was

al r eady due to be presented at the Nassau County Museum of Art .

See Vellekoop Deel. , Exs. 2 , 4 . Mr . Pivar did not need to enter

into an agreement with the Museum , and the Museum had no need to

force Mr . Pivar into such an agreement .

      Nor does Mr . Pivar show any substantive unconscionability .

He does not argue that Dutch law is unfair or that enforcement

of the forum selection clause would contravene public policy or

deprive him of his day in court . While plaintiff cites his old

age and general frailness , those facts alone are insufficient to


                                     -10 -
                    Case 1:21-cv-09362-LLS       Document 26     Filed 03/25/22   Page 11 of 11
(   -   -   '
            I




                deem such a clause unreasonable. See Ferketich v . Carnival

                Cruise Lines, No . 02-CV-3019 , 2002 WL 31371977 , at *5 (E.D. Pa .

                Oct .1 7 , 2002)      (holding that 75 - year - old plaintiff ' s difficulty

                in traveling due to advanced age and lack of mobility did not

                establish that transfer would deprive her of her day in court) ;

                Miller v . Regency Mar . Corp ., 824 F . Supp . 200 , 202 - 03

                (N . D. Fla .1 992)    (holding that a letter from plaintiff ' s doctor

                stating her inability to travel to chosen forum,                  even if taken

                as true , did not render enforcing the forum - selection clause

                unreasonable) ; see also Effron v . Sun Line Cruises , Inc ., 67

                F. 3d 7, 11 ( 2d Cir. 1995) ( " A plaintiff may have his ' day in

                court ' without ever setting foot in a courtroom .                    . If this

                were not so , gravely injured and incapacitated plaintiffs might

                not be able to recover for their injuries.")                (internal citations

                omitted) .

                      The parties '       forum selection cause is enforceable , and the

                action should be brought in the contractually agreed upon forum .

                                                    CONCLUSION

                       Defendant ' s motion to dismiss is granted , and all claims

                are dismissed without prejudice on grounds of forum non

                conveniens .

                       So Ordered .

                Dated :       New York , New York
                              March 25 , 2022
                                                                        I,,,,,,_,,', L.1t,.~
                                                                        Louis L. Stanton
                                                                           U. S.D . J .


                                                        - 11 -
